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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

BLACKSTONE DEVELOPERS, LLC,                  §
                                             §
       Plaintiff,                            §
                                             §
vs.                                          §   CIVIL ACTION NO. 3:15-cv-01072-N
                                             §
LIBERTY MUTUAL INSURANCE,                    §
                                             §
       Defendant.                            §

                JOINT MOTION TO DISMISS WITH PREJUDICE

       Plaintiff Blackstone Developers, LLC (“Plaintiff”) and Defendant Ohio Security

Insurance Company, improperly served and sued as Liberty Mutual Insurance

(collectively, the “Parties”), file this Joint Motion to Dismiss with prejudice, and in

support thereof would respectfully show the Court as follows:

       All matters between the Parties have been fully settled. Accordingly, the Parties

now request that this matter, including all claims that have been and/or could have been

asserted in this matter by Plaintiff Blackstone Developers, LLC against Ohio Security

Insurance Company, be dismissed with prejudice to the re-filing of same.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Blackstone Developers,

LLC and Defendant Ohio Security Insurance Company, request that the above-styled and

numbered case be dismissed with prejudice to the re-filing of same, with costs of Court to

be taxed against the party incurring same.




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                                      Respectfully Submitted,


                                       /s/ Scott G. Hunziker
                                       Scott G. Hunziker
                                       SBN 24032446

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                                       ATTORNEYS FOR PLAINTIFF
                                       BLACKSTONE DEVELOPERS, LLC



                                       /s/ Colin Batchelor
                                       MARK D. TILLMAN
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                                       ATTORNEYS FOR DEFENDANT
                                       OHIO SECURITY INSURANCE
                                       COMPANY




______________________________________________________________________________________
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                              CERTIFICATE OF SERVICE

       In accordance with Rules 21 and 21a of the Texas Rules of Civil Procedure, on
December 23, 2016, a true and correct copy of the above and foregoing instrument was
served via facsimile or electronic service upon:

Scott G. Hunziker
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26619 Interstate 45 South
The Woodlands, Texas 77380
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                                                  /s/ Colin Batchelor
                                                  COLIN BATCHELOR




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